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                              UN ITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CA SE NO .18-60143-Cr-M oren& Se1tzer


 UN ITED STATES OF AM ERICA




  DUSTIN ALLEN HUGHES,
                 Defendant


                     G OV ERNM EN T'S FACTUA L BA SIS IN SUPPO RT
                        '
                             O F ENTRY O F GUILTY PLEA

         PursuanttoRule11(b)(3)oftheFederalRulesofCriminalProcedure,theUnitedStates
  subm itsthe following factualbasisin supportoftheentryofaguilty plea by defendant,Dustin

  AllenHughes(hereinafterreferredtoastheEçdefendant'')toCount3oftheindictment. Count
  3 charges the defendantw ith obstruction ofpersons in the free exercise ofreligious beliefs

  through thethreateneduseofadangerousweaponand explosive,in violation of18 U.S.C.j

  247(a)(2)and(d)(3).
         Because the factualbasis setforth below servesthe lim ited purpose ofsupporting the

  defendant'sguilty plea in thiscase,itis merely a sum m aly and does notpurportto represent

  allfactsand circum stancesrelating to defendant'sparticipation in thisoffense.

         Through hissignature on thelastpageofthisdocum ent,thedefendantconfirm sthathe

  hasread the factualbasis orhashad itread to him . The defendantsim ilarly confirm sthathe



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 FactualBasis- Page 1                                       AttorneyforDefendant        X
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  hasdiscussed the factualbasiswith counseland thatthe factualbasisistrue and correctto the

  bestofthe defendant'sknowledge.

                  The JamaetU1M uttaqeen M osque (hereinafter çtthe M osque'')is a M osque
  located in Pembroke Pines,Florida. Atthe tim es relevantto this case, the greeting on the

  M osque's voicem ail provided a second phone num ber as an alternate em ergency contact

 number.

         2.      On Saturday,M ay 5,2018,atapproxim ately 4:06 pm , a m ale individuallefta

 message on the voicem ail for the M osque's alternate em ergency contact number         .    The

 message w as in an aggressive and highly threatening tone of voice. This m essage is the

 m essagereferenced in Count3 ofthe indictm ent. Them essage stated the follow ing:

                 ttYou fucking M uslim pieceofshit. I'veplantedabom b in your

                 tem ple. 1'm going to blow yourfucking templeup, you fucking

                 M uslim pieceofshit. W hereyou guyshaveyoursanctuary and

                 worship A llah,l'm going to blow thatm otherfuckerup     .   Ihave

                 adetonator;l'm going tocausethatmotherfuckertogo off. Y ou

                 guys are allgoing to be up in tlam es after I'm done with you.

                 You guyswantto com e here and cause mayhem to Am erica, l'm

                 going to cause m ayhem to yourreligion,becauseyourreligion is

                 nothing but lies, lies, lies, lies from the devil. W here's Allah

                 l1OW ?'3




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FactualBasis- Page 2                                          Attorney for Defendant         '
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                 Although the callerdid notidentify him self,the receiving phone identified the

  numberfrom whichthe calloriginated as786-803-0865. Recordsproduced on M ay 13,2018,

  by T-M obile,U.S.A .,establish that the defendant was the listed subscriber to this phone

  num berfrom N ovember 30,2017,through M ay 13,2018,thus including the date ofthe call

  ofM ay 5,2018,referenced above,aswellasthe otherthreecallsreferenced laterin thisfactual

  baSI
     'S.

           4.    After retrieving the threating voicem ail m essage,an official of the M osque

  immediately contacted Pembroke Pines Police Department (PPPD), which subsequently
  responded to the M osque and conducted an exteriorand interior sw eep forexplosives. No

 presenceofexplosiveswereuncovered by PPPD atorin vicinity ofthe M osque.

           5.    A review of the M osque's voicem ail revealed three additional threatening

  messages. Thesem essagesarereferenced below ,respectively,astGM essage 1,''tçM essage2,5'

 an        essage .           essage 1''w as lefton M ay 2, 2018, at approxim ately 12:01 am .

  itl
    M essage 2''waslefton M ay 2,2018,atapproxim ately 12:02 am . çtM essage4''w aslefton

 M ay 5,2018,atapproxim ately 4:08 pm ,which isapproxim ately two m inutesafterthe above-

 referenced callto theM osque'salternate em ergency contactnumber.

           6.    A1lthree m essages originated from 786-803-0865,which once again wasthe

 numberforw hich the defendantw asthelisted subscriberatthetim esofthesecalls. Thecaller

 who leftthese three m essages had the sam e voice as the callerwho leftthe m essage on the

 M osque'salternate em ergency contactnum beron M ay 5,2018.

                 EçM essage 1''stated the follow ing:

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                ttl'm gonnablow up yourfucking tem ple,becauseyou guysare a

                bunch offucking lying,murdering,piecesofhypocrite shitthat

                justwannacausemayhem to Americans,you fucking piecesof
                shit,1have a fucking bom b strapped in there rightnow ,m other

                fuckers. W hatthefuck areyou gonnado,youtow elhead fuck?''

         8.     itM essage 2''stated the following:

                ûûYeah,this is m e again. 1 have the fucking bomb detonator in

                there right now,and 1'm gonna set it off pretty fucking soon,

                because Iam so fed up w ith you M uslim scom ing here causing

                m ayhem to A m ericans,so 1am gonna give you a taste ofw hat

                you give to us. 1 am going to cause you guysto be scream ing

                A llah,A llah,A llah,Allah,exceptA llah won'tsave yourfucking

                tow elhead ass,bitch.''

                ttM essage4''stated the following:

                tt isten you fucking M uslim piece ofshit. l'm gonna blow up

                yourfuckingtemple,1haveabom b planted in itrightnow . You

                guysare a11gonna to go up in flam esforbeing a bunch oflying

                pieces of shit causing m ayhem to Am erica. l'm gonna get

                revenge on a11ofyou piecesofshit.''




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                 A sa resultofthe threatening m essages, the M osque hired private security for

  theholy m onth ofRam adan, which started approximately aweek and one-halfafterthelastof

  the threatening m essages.

                 On M ay 15,2018,atapproximately noon tim e, agentsarrested the defendantat

 hisresidence in M iam i-Dade County. W hile atthe residence, agentsread the defendanthis

 M iranda rightsand presented the defendantwith awritten M irandawaiverform . Afterbeing

 presented with thefol'
                      m ,thedefendantread theform and waived hisM irandarightsinw riting.

                 Afterplacing the defendantunderarrest, agents transported him to the FB1's

 field officein M iram ar,Florida, forbooking and questioning Following hisanivalattheFB1
                                                                 .



 field office,the defendantw as taken to an interview room   .       Agentsre-presented the written
 M iranda waiver form to the defendant. ln response,the defendant reconfinned his earlier

 acknowledgm entofhisM iranda rightsand hiswaiverofthoserights             .




         13.    During the interview ,agents played for the defendant the above-referenced

 voicem ailm essage lefton the M osque'salternateem ergency contactnum beron M ay 5, 2018,

 which onceagain isthem essagechargedin Count3 oftheindictm ent. Thedefendantinitially

 denied being theperson who leftthe voicem ailmessage. H owever,the defendanteventually

 adm itted leaving thatvoicem ailm essage, aswellleaving otherthreatening voicem ailm essages

 with the M osque. The defendantstated thathis intentin m aking the threats wasto itcause a

 bigscare''and ççgetareaction.'' W hen advised,in substance,thatthecallscausedthem embers

 oftheM osqueto becom e scared, the defendantclapped and said,Etgood.''




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         14.    Because the defendant used a telephone to leave the voicem ail m essages

  referenced above,and because a telephone is an instrum entality ofinterstate com m erce,the

  defendant'scommissionofCount3affectedinterstatecommerceforpurposesof18U.S.C.j
  247(a)(2).
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                                           U N ITED STA TES A TTO RN EY



  oate,ilttlktn                            m xz/=
                                           M ICHA EL DA VIS
                                           A SSISTA N T UN ITED STA TE S A TTO RN EY



  oate: J Jz.
            q f/#
                                           DANIEL ECARIU S
                                           ASSISTANT FEDERAL PUBLIC D EFENDER
                                           A TTO RN EY FO R TH E D EFEN D AN T




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                                           D EFEN D AN T




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